      Case 1:20-cv-00186-JRH-BKE Document 20 Filed 08/03/21 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

JOHN TOMPKINS,                        )
Individually and for Others Similarly )
Situated                              )
                                      )
       Plaintiff,                     )
                                      )
V.                                    )         CIVIL ACTION FILE NO.
                                      )         1:20-CV-00186-JRH-BKE
EMPYREAN SERVICES, LLC                )
                                      )
       Defendant.                     )

     FOURTH JOINT RENEWED MOTION FOR COURT APPROVAL
        OF FLSA SETTLEMENT AND RELEASE AGREEMENT

      COME NOW all of the parties herein, and hereby file this Fourth Joint Renewed

Motion for Court Approval of FLSA Settlement and Release Agreement.

      Pursuant to the Court’s Order denying the Parties’ Third Joint Renewed Motion

for Court Approval of FLSA Settlement and Release Agreement (Doc. 19), the Parties

respectfully submit the attached amended settlement agreement for Court approval.

The Parties incorporate arguments and authorities from their prior motions to approve

(Docs 8; 12) (Parties’ motions for settlement approval).

      The Parties’ amended settlement agreement reduces the settlement allocation

towards out-of-pocket expenses by $400.00 and re-allocates that amount to Mr.

Tompkins’s net settlement proceeds. The settlement reflects $6,100.00 in attorney’s

fees and case expenses, which was previously approved by this Court.
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      WHEREFORE, the parties respectfully request the Court grant the instant Joint

Motion and approve the attached Settlement Agreement. A proposed Order is

attached for the Court’s convenience.

      Respectfully submitted this 3rd day of August, 2021.




JOSEPHSON DUNLAP, LLP                    FREEMAN MATHIS & GARY, LLP

s/ Carl A. Fitz                          s/ John D. Bennett
Carl A. Fitz                             John D. Bennett
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                                         Counsel for Defendants




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                IN THE UNITED STATES DISTRICT COURT
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JOHN TOMPKINS,                        )
Individually and for Others Similarly )
Situated                              )
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       Plaintiff,                     )
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V.                                    )         CIVIL ACTION FILE NO.
                                      )         1:20-CV-00186-JRH-BKE
EMPYREAN SERVICES, LLC                )
                                      )
       Defendants.                    )


                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the within and

foregoing FOURTH JOINT RENEWED MOTION FOR COURT APPROVAL

OF FLSA SETTLEMENT AND RELEASE AGREEMENT to the Clerk of Court

using the CM/ECF system, which will automatically send electronic mail notification

of such filing to the following attorney of record who is a CM/ECF participant:

                                  Carl A. Fitz
                             Josephson Dunlap, LLP
                          11 Greenway Plaza, Suite 3050
                              Houston, Texas 77046


      This 3rd day of August, 2021.

                                                s/ John D. Bennett
                                                John D. Bennett
                                                Georgia Bar No. 059212

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